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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                11/3/21
  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       The Court is in receipt of the Defendant’s motions for reconsideration. See Dkt. Nos.

407, 408. The Government is hereby ORDERED to respond to Defendant’s motion for

reconsideration, Dkt. No. 408, on or before November 8, 2021.

       As to the motion for reconsideration regarding the disclosure of juror names, the Court

reminds counsel of the following. First, as the Court previously indicated, the lawyers will be

provided the names of jurors on November 16, prior to the commencement of the voir dire

process. Second, the Court has now resolved the logistical issues regarding the ability to conduct

peremptory challenges on November 29 and the Court can now confirm that peremptory strikes

will not be exercised until November 29. Finally, as previously indicated, although only 40

qualified jurors are needed for the exercise of peremptory strikes, the Court will seek to qualify

approximately 50 to 60 prospective jurors to return on November 29 for the exercise of

peremptory strikes. If counsel for either side learns of any additional information that would be

a basis for a strike for cause prior to November 29, they shall immediately raise the issue with

the Court.

       Bearing in mind this information, the Government is ORDERED to respond to

Defendant’s motion for reconsideration, Dkt. No. 407, on or before November 4, 2021.

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     SO ORDERED.



Dated: November 3, 2021
       New York, New York            ____________________________________
                                               ALISON J. NATHAN
                                             United States District Judge




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